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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: GEICO CUSTOMER DATA SECURITY
BREACH LITIGATION                                                                    MDL No. 3013


                                ORDER DENYING TRANSFER


        Before the Panel:* Defendants Government Employees Insurance Company, GEICO
Indemnity Company, GEICO Casualty Company, and GEICO General Insurance Company
(collectively, GEICO) move under 28 U.S.C. § 1407 to centralize this litigation in the Eastern
District of New York or, alternatively, in the District of Maryland. This litigation consists of five
actions—three pending in the Eastern District of New York, one pending in the District of
Maryland, and one pending in the Southern District of California—as listed on Schedule A.
Plaintiffs in the three Eastern District of New York actions support the motion. Plaintiffs in the
District of Maryland Connelly action suggest centralization in the District of Maryland or,
alternatively, in the Eastern District of New York. Plaintiffs in the Southern District of California
Vennerholm II action oppose the inclusion of Vennerholm II in any MDL.

        On the basis of the papers filed and the hearing session held, 1 we conclude that
centralization is not necessary for the convenience of the parties and witnesses or to further the
just and efficient conduct of this litigation. These putative class actions arise from an alleged data
security breach of GEICO’s online sales system occurring between January 24, 2021, and March
1, 2021, which resulted in the exposure of personal information belonging to GEICO customers,
former customers, and certain other persons. The actions thus share common questions of fact,
including how the GEICO breach occurred, what security measures were in place at the time of
the breach, and what steps were taken by GEICO in response to the breach. There are only five
actions on the motion, however, three of which are pending in the same district before the same
judge, and no potentially related actions have been brought to our attention. Where only a minimal
number of actions is involved, the proponent of centralization bears a heavier burden to
demonstrate that centralization is appropriate. See In re Transocean Ltd. Sec. Litig. (No. II), 753
F. Supp. 2d 1373, 1374 (J.P.M.L. 2010). Defendant has failed to meet that burden here.

* Judge Norton did not participate in the decision of this matter. Additionally, one or more Panel
members who could be members of the putative classes in this litigation have renounced their
participation in these classes and have participated in this decision.
1
  In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel heard oral
argument by videoconference at its hearing session of September 30, 2021. See Suppl. Notice of
Hearing Session, MDL No. 3013 (J.P.M.L. Sept. 13, 2021), ECF No. 30.
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         We have emphasized that “centralization under Section 1407 should be the last solution
after considered review of all other options.” In re Best Buy Co., Inc., Cal. Song-Beverly Credit
Card Act Litig., 804 F. Supp. 2d 1376, 1378 (J.P.M.L. 2011). These options include agreeing to
proceed in a single forum via Section 1404 transfer of the cases and voluntary cooperation and
coordination among the parties and the involved courts to avoid duplicative discovery or
inconsistent rulings. See, e.g., In re Gerber Probiotic Prods. Mktg. and Sales Practices Litig., 899
F. Supp. 2d 1378, 1379 (J.P.M.L. 2012); In re Eli Lilly & Co. (Cephalexin Monohydrate) Patent
Litig., 446 F. Supp. 242, 244 (J.P.M.L. 1978); see also Manual for Complex Litigation, Fourth,
§ 20.14 (2004). In the circumstances presented here, informal coordination among the small
number of parties and involved courts appears eminently feasible.

          IT IS THEREFORE ORDERED that the motion for centralization of these actions is
denied.


                                          PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                              Chair

                                      Catherine D. Perry                 Nathaniel M. Gorton
                                      Matthew F. Kennelly                Dale A. Kimball
                                      Roger T. Benitez
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IN RE: GEICO CUSTOMER DATA SECURITY
BREACH LITIGATION                                               MDL No. 3013


                                  SCHEDULE A


                Southern District of California

    VENNERHOLM II, ET AL. v. GEICO CASUALTY COMPANY, ET AL.,
        C.A. No. 3:21−00806

                District of Maryland

    CONNELLY, ET AL. v. GOVERNMENT EMPLOYEES INSURANCE COMPANY,
        ET AL., C.A. No. 8:21−01152

                Eastern District of New York

    MIRVIS, ET AL. v. BERKSHIRE HATHAWAY, INC., ET AL., C.A. No. 1:21−02210
    BRODY v. BERKSHIRE HATHAWAY, INC., ET AL., C.A. No. 1:21−02481
    VISCARDI v. GOVERNMENT EMPLOYEES INSURANCE COMPANY, ET AL.,
         C.A. No. 2:21−02540
